              Case 2:08-cr-00090-WBS Document 120 Filed 01/13/10 Page 1 of 2




     LINDSAY ANNE WESTON
 1   Attorney State Bar NO. 73132
     P.O. Box 74310
 2   Davis, California 95617
     (530) 756-7774
 3

 4

 5                          UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF CALIFORNIA
 6

 7

 8
     UNITED STATES OF AMERICA
 9                                                    ) Case No.: CR S-08-090- EJG
              Plaintiff,                              ) STIPULATION AND ORDER
10                                                    )
            vs.                                       ) CONTINUING SENTENCING
11                                                    ) HEARING AND ADOPTING NEW
     LUCIANO PORCAYO, et. al.,                        )
12                                                    ) SCHEDULE FOR DISCLOSURE
                    Defendants.                       ) OF SENTENCING REPORT AND
13                                                    )
                                                        OBJECTIONS
14

15
                                            Stipulation
16
            The government and the defendant, Luciano Porcayo, through undersigned counsel,
17
     stipulate and request that the sentencing hearing scheduled for February 5, 2010, at 10:00 a.m.
18
     may be continued to May 21, 2010, at 10:00 a.m. and that the Court order the following schedule
19
     for disclosure of the pre-sentence report and the objects thereto:
20
            Disclosure of draft pre-sentence report                April 9, 2010
21
            Written objections to draft PSR                        April 23, 2010
22
            Filing and disclosure of PSR                           April 30, 2010
23
            Motion for corrections of PSR                          May 7, 2010
24
            Reply or statement of non-opposition                   May 14, 2010.
25
            The request for the continuance of the hearing and the new schedule regarding the
26
     sentencing report is made by the defense. Undersigned counsel for Mr. Porcayo was away from
27
     the office several months recently due to an extended family medical situation. The continuance
28




                                                      - 1
              Case 2:08-cr-00090-WBS Document 120 Filed 01/13/10 Page 2 of 2




 1   is necessary to give the defense sufficient time to prepare for sentencing. Mr. Porcayo is out of
 2   custody on bond and is not opposed to the continuance of the sentencing.
 3

 4
     DATED: January 12, 2010                               Respectfully submitted,
 5

 6
                                                           /s/ Lindsay Anne Weston
 7                                                         _______________________________
                                                           LINDSAY ANNE WESTON
 8                                                         Counsel to Luciano Porcayo
 9

10                                                         BENJAMIN WAGNER
11
                                                           United States Attorney

12                                                         /s/ Lindsay Weston for Samantha Spangler
                                                           per telephone authorization
13
                                                           __________________________________
14                                                         SAMANTHA S. SPANGLER
                                                           Assistant U.S. Attorney
15

16
                                           ORDER
17

18          GOOD CAUSE APPEARING, IT IS SO ORDERED.

19   DATED: January 12 , 2010

20

21

22
                                                           __/s/ Edward J. Garcia_____
23                                                         EDWARD J. GARCIA, Judge
                                                           United States District Court
24

25

26

27

28




                                                     - 2
